                       Case 1:22-cr-00183-SCJ-RDC Document 2 Filed 05/17/22 Page 1 of 1

US. Departoient of Justice                                                                                                  FILED IN CHAMBERS
United States Attorney
                                                                                                                             U.S.D.C ATLANTA

                                                                                                                            05/17/2022
                                                                                                                      Date: _____________________
                                         IN THE UNITED STATES DISTRICT COURT
                                              FOR THE NORTHERN DISTRICT OF GEORGIA                                    KEVIN P. WEIMER, Clerk

                                                                       Division: Atlanta
                                                                                                                       /s/Sonya Lee Coggins
                                                                                                                   By: ____________________________
                                                                       (USAO: 2019R00111)                                    Deputy Clerk

                                  DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION


COUNTS NAME:                 Fulton                                            DISTRICT COURT NO.            t s82 -CR183
                                                                                                              UNDER SEAL
                                                                               MAGISTRATE CASE NO.

X Indicbnent                                             Information                               Magistrate's Complaint
DATE: May 17,2022                                        DATE:                                     DATE:

                              UNETED STATES OF AMERICA                         SUPERSEDING INDICTMENT
                                            vs.                               Prior Case Number:
                                      JOHN W. OXENDINE                        Date Filed:

GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                                 Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? Yes X No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No


Will the defendant require an interpreter? Yes X No




District Judge:



Attorney: Christopher J. Huber
Defense Attorney:
